                Case 5:18-cr-00260-EJD         Document 1-1         Filed 06/14/18        Page 1 of 1

                                                                                                         E-FILING
                                        United States District Court
                                       Northern District of California                                   ^


                                    CRIMINAL COVER SHEET
                                                                                                         —




Instructions; Effective January 3, 2012, this Criminal Cover Sheet must be completed and submitted; alon^^^to the
Defendant Infonnation Form, for each new criminal case.



Case Name:                                                                       Case Number:

USAv.       NAHEEDMANGl         CRir 002go                                                               VKD
Total Number of Defendants:                                                      Is This Case Under Seal?

            1     /              2-7
                                          n          8 or more
                                                                   n                Yes
                                                                                                 S-®'"



Does this case involve ONLY charges under 8 U.S.C. § 1325 and/or 1326?

        Yes
                EL_              No        /


Venue (Per Crim. L.R. 18-1):

   SF I I OAK n                   SJ [7]       EUR I I MON I I

Is any defendant charged with a death-penalty-eligible crime?                    Assigned AUSA (Lead Attorney):
                                                                                Susan Knight
        Yes
                EL               No        /


Is this a RICO Act gang case?                                                    Date Submitted:

                                                                                June 14, 2018
        Yes                      No
                                          EL
Comments:




                                                                                       Print             Clear Form




July 2013
